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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                 TALLAHASSEE DIVISION


WEST FLAGLER ASSOCIATES LTD, et al.,

        VS
                                                                CASE NO. 4:21-cv-00270-AW-MJF
RONALD DION DESANTIS, et al.,



      NOTICE REGARDING ELECTRONIC FILING AND ATTORNEY ADMISSIONS
                            REQUIREMENT

To:     Elliott Milhollin
        D.C. Bar No. 474322
        Hobbs Straus Dean & Walker, LLP
        1899 L Street NW, Suite 1200
        Washington, DC 20037



        The above-styled case has been filed in the Northern District of Florida and you are listed

as counsel or co-counsel of record for SEMINOLE TRIBE OF FLORIDA. Our records indicate

that you are “not admitted or registered” to file electronically in this District.

        Please be advised that the filing of documents electronically is mandatory. (Case opening

documents and sealed pleadings are exempt at this time, and should be filed in hard copy). To

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                                                         JESSICA J. LYUBLANOVITS
                                                         CLERK OF COURT

9/1/2021                                                 s/ Victoria Milton McGee
Date                                                     Deputy Clerk
